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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No; CV 19-01005-AB (KSx) Date: January 24, 2020

 

 

Title: Jane Doe v. California Institute of Technology et al

 

Present: The Honorable ANDRE BIROTTE JR., United States District Judge

Carla Badirian Anne Kielwasser

Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
Anahita Sedaghatfar Moez M Kaba
Proceedings: 1) DEFENDANTS CALIFORNIA INSTITUTE OF

TECHNOLOGY AND KEVIN GILMARTIN’S MOTION TO
DISMISS THIRD AMENDED COMPLAINT [78]; and

2) CROSS-DEFENDANT CALIFORNIA INSTITUTE OF
TECHNOLOGY’S MOTION TO DISMISS FIRST AMENDED

CROSS CLAIMS [79]

The Courtroom Deputy Clerk distributes the Court’s tentative rulings prior to the
case being called.

The Court having carefully considered the papers and the evidence submitted by
the parties, and having heard the oral argument of counsel, hereby takes the motions

under submission.

 

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CV-90 (12/02) CIVIL MINUTES - GENERAL Initials of Deputy Clerk CB
